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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


LEAGUE OF UNITED LATIN
AMERICAN CITIZENS, et al.,

                    Plaintiffs,
                                               Civil Action No. 25-0946 (CKK)
      v.

EXECUTIVE       OFFICE            OF    THE
PRESIDENT, et al.,

                     Defendants.


DEMOCRATIC NATIONAL
COMMITTEE, et al.,

                    Plaintiffs,
                                               Civil Action No. 25-cv-0952 (CKK)
      v.

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                Defendants.


LEAGUE OF WOMEN VOTERS
EDUCATION FUND, et al.,

                    Plaintiffs,
                                               Civil Action No. 25-0955 (CKK)
      v.

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                Defendants.


 DEMOCRATIC PARTY PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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       Plaintiffs the Democratic National Committee, the Democratic Governors Association, the

Democratic Senatorial Campaign Committee, the Democratic Congressional Campaign

Committee, and the Democratic leaders of the U.S. Senate and House, Charles E. “Chuck”

Schumer and Hakeem S. Jeffries, respectively (“Democratic Party Plaintiffs”) respectfully move

for a preliminary injunction, pursuant to Fed. R. Civ. P. 65 and LCvR 65.1, and state as follows:

       Plaintiffs seek to preliminarily enjoin Defendants, their officers, agents, servants, and

employees from enforcing Sections 2(a), 2(b), 2(d), and Section 7 of Executive Order 14248. As

set forth in more detail in the accompanying memorandum, these sections should be enjoined

because they are ultra vires, incompatible with separation of powers principles, and in violation of

several federal statutes. See Am. Forest Res. Council v. United States, 77 F.4th 787, 796 (D.C. Cir.

2023); Collins v. Yellen, 594 U.S. 220, 245 (2021). This Motion is supported by an accompanying

memorandum of points and authorities and by declarations, which are attached as exhibits, filed

herewith:

       Pursuant to Local Rule 65.1(d), Plaintiffs aver that expedition is made essential by the

irreparable and ongoing harm to Plaintiffs’ operations detailed in the accompanying brief and

supporting declarations.

       No monetary security is required under Federal Rule of Civil Procedure 65(c) because

Defendants will not suffer any harm as a result of a preliminary injunction here. See Nat’l Council

of Nonprofits v. Off. of Mgmt. & Budget, --- F. Supp. 3d ----, No. CV 25-239 (LLA), 2025 WL

597959, at *19 (D.D.C. Feb. 25, 2025) (“Rule 65(c) has been read to vest broad discretion in the

district court to determine the appropriate amount of an injunction bond, including the discretion

to require no bond at all.” (quoting DSE, Inc. v. United States, 169 F.3d 21, 33 (D.C. Cir. 1999),

then P.J.E.S. ex rel. Escobar Francisco v. Wolf, 502 F. Supp. 3d 492, 520 (D.D.C. 2020))).



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       Pursuant to Local Civil Rule 7(m), undersigned counsel states that counsel for Democratic

Party Plaintiffs corresponded with counsel for Defendants regarding the scope of Democratic Party

Plaintiffs’ motion for preliminary injunction. The motion is opposed.

        A proposed order is attached hereto.



Dated: April 7, 2025                                Respectfully submitted,

                                                    /s/ Marc. E. Elias
                                                    ELIAS LAW GROUP LLP
                                                    Marc E. Elias (DC 442007)
                                                    Aria C. Branch (DC 1014541)
                                                    Lalitha D. Madduri (DC 1659412)
                                                    Christopher D. Dodge (DC 90011587)
                                                    Jacob D. Shelly (DC 90010127)
                                                    James J. Pinchak (NY 5965397)*
                                                    Julie Zuckerbrod (DC 1781133)
                                                    250 Massachusetts Ave. NW, Suite 400
                                                    Washington, DC 20001
                                                    T: (202) 968-4652

                                                    Tyler L. Bishop (DC 90014111)
                                                    1700 Seventh Ave. Suite 2100
                                                    Seattle, WA 98101
                                                    T: (206) 656-0177

                                                    *Admitted pro hac vice




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                                    CERTIFICATE OF SERVICE

       I certify that I served the foregoing Motion for Preliminary Injunction on all Defendants

named in this Motion by emailing it to their attorneys at the email addresses listed below, to be

followed with mailed copies to the addresses listed below.


UNITED STATES ELECTION ASSISTANCE COMMISSION
633 3rd Street, NW, Suite 200
Washington, DC 20001

U.S. DEPARTMENT OF JUSTICE,
950 Pennsylvania Avenue NW
Washington, DC 20530

U.S. DOGE SERVICE,
736 Jackson Place NW
Washington, DC 20503

U.S. DEPARTMENT OF STATE,
2201 C Street NW
Washington, DC 20520

U.S. DEPARTMENT OF HOMELAND SECURITY,
2707 Martin Luther King Jr. Avenue SE
Washington, DC 20528

U.S. DEPARTMENT OF DEFENSE,
1000 Defense Pentagon
Washington, DC 20301

U.S. DEPARTMENT OF VETERANS AFFAIRS,
810 Vermont Avenue NW
Washington, DC 20420

U.S. SMALL BUSINESS ADMINISTRATION,
409 Third Street SW
Washington, DC 20416;

U.S. DEPARTMENT OF THE INTERIOR,
1849 C Street NW
Washington, DC 20240

BENJAMIN W. HOVLAND

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633 3rd Street NW, Suite 200
Washington, DC 20001

DONALD L. PALMER
633 3rd Street NW, Suite 200
Washington, DC 20001;

THOMAS HICKS
633 3rd Street NW, Suite 200
Washington, DC 20001;

CHRISTY MCCORMICK
633 3rd Street NW, Suite 200
Washington, DC 20001;

PAMELA BONDI
950 Pennsylvania Avenue NW
Washington, DC 20530;

AMY GLEASON
736 Jackson Place NW
Washington, DC 20503;

MARCO RUBIO
2201 C Street NW
Washington, DC 20520;

KRISTI NOEM
2707 Martin Luther King Jr. Avenue SE
Washington, DC 20528;

PETER B. HEGSETH
1000 Defense Pentagon
Washington, DC 20301;

DOUGLAS A. COLLINS
810 Vermont Avenue NW
Washington, DC 20420;

KELLY LOEFFLER,
409 Third Street SW
Washington, DC 20416

DOUGLAS BURGUM
1849 C Street NW
Washington, DC 20240;



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ANDREW DARLINGTON
950 Constitution Avenue, NW
Room 5535
Washington, DC 20530
andrew.darlington@usdoj.gov

MICHAEL GATES
950 Constitution Avenue, NW
Room 5744
Washington, DC 20530
michael.gates2@usdoj.gov



                                         /s/ Lalitha D. Madduri
                                         Lalitha D. Madduri
                                         ELIAS LAW GROUP LLP
                                         250 Massachusetts Ave. NW, Suite 400
                                         Washington, DC 20001
                                         (202) 968-4593
                                         lmadduri@elias.law




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